
48 So.3d 1001 (2010)
William C. GRAHAM, Appellant,
v.
STATE of Florida, Appellee.
No. 5D08-4113.
District Court of Appeal of Florida, Fifth District.
December 3, 2010.
*1002 James S. Purdy, Public Defender, and Peter A. Ames, Sr., Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Douglas T. Squire, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
In accordance with Alcantara v. State, 39 So.3d 535 (Fla. 5th DCA 2010), this cause is reversed and remanded for resentencing.
REVERSED AND REMANDED.
ORFINGER, TORPY and JACOBUS, JJ., concur.
